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                                                                      FILED IN CHAMBERS
                                                                          U.S.D.C. Atlanta


                                                                          SEP 2 0 2022
                  IN THE UNITED STATES DISTRICT COURT
                                                                        Kevi ~        er,   lerk
                 FOR THE NORTHERN DISTRICT OF GEORGIA                   By
                                                                             0   y Clerk
                           ATLANTA DIVISION


   UNITED ST ATES OF AMERICA

          V.                                  Criminal Indictment

   KENNETH WILKERSON
                                                        22 C -033
THE GRAND JURY CHARGES THAT:


   On or about April 15, 2021, in the Northern District of Georgia, the defendant,
KENNETH WILKERSON, knowing he had previously been convicted of at least                            , -
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                                                                                            1
one offense punishable by imprisonment for a term exceeding one year, that is .·
Violating the Georgia Controlled Substances Act, on or about February 17, 2004,
in the Superior Court of DeKalb County, Georgia, did knowingly possess at least
one of the following firearms:
   a) a Zastava Arms, model ZF AP92, 7.62 caliber pistol, serial number
      292-078973;
   b) a Sig Sauer, model P290rs pistol, serial number 26C027462;
   c) a Smith and Wesson, model M&P, .223 caliber rifle, serial number S211047;
   d) an FN, 5.7 caliber pistol, serial number 38638245;
said possession being in and affecting interstate and foreign commerce; all in
violation of Title 18, United States Code, Section 922(g)(l).


                                     Forfeiture
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   Upon conviction of the offense alleged in this Indictment, the defendant,
KENNETH WILKERSON, shall forfeit to the United States pursuant to Title 18,
United States Code, Section 924( d) and Title 28, United States Code, Section
2461(c), any firearms and ammunition involved in the commission of the offense,
that is,
   a) a Zastava Arms, model ZF AP92, 7.62 caliber pistol, serial number
       292-078973;
   b) a Sig Sauer, model P290rs pistol, serial number 26C027462;
   c) a Smith and Wesson, model M&P, .223 caliber rifle, serial number SZ11047;
   d) an FN, 5.7 caliber pistol, serial number 38638245;
all of which were seized by law enforcement on or about April 15, 2021.
   If any of the above-described forfeitable property, as a result of any act or
omission of the defendant:
   a. cannot be located upon the exercise of due diligence;
   b. has been transferred or sole to, or deposited with, a third party;
   c. has been placed beyond the jurisdiction of the court;
   d. has been substantially diminished in value; or
   e. has been commingled with other property which cannot be divided
       without difficulty,




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the United States of America intends to seek forfeiture of any other property of

said defendant up to the value of the forfeitable property, pursuant to Title 21,
United States Code, Section 853(p ), and Title 28, United States Code, Section
2461(c).




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